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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS
_______________________________________


UNITED STATES OF AMERICA

v.
                                                     Criminal No. 17-10146-MLW
ANTON RISE,

                Defendant.



                       GOVERNMENT’S RESPONSE TO
                 COURT ORDER RE: SENTENCING (DKT. NO. 139)

       Pursuant to this Court’s Order, Dkt. No. 139, the Government states that it no longer

takes the position that the defendant is subject to the sentencing enhancement provided by the

Armed Career Criminal Act. Although the Supreme Court in Wooden v. United States, 142 S.

Ct. 1063 (2022) expressly left open the question “whether the Sixth Amendment requires that a

jury, rather than a judge, resolve whether prior crimes occurred on a single occasion, “142 S. Ct.

at 1068 n.3, the Government now takes the position that—in light of the “multi-factored” and

“holistic” inquiry now required by Wooden, id. at 1068, 1070-71—a jury must find, or a

defendant must admit, that a defendant’s ACCA predicates were committed on occasions

different from one another. Accordingly, under the facts and procedural history of this case, the

Government no longer believes it can meet its burden in demonstrating that the defendant is an

Armed Career Criminal at this stage.

       Accordingly, the Government’s view is that the defendant’s Guidelines Sentencing

Range is 70-87 months in prison followed by 1-3 years of Supervised Release, based on a Total

Offense Level of 21 and Criminal History Category of V, and the Government recommends a

sentence of 84 months in prison, followed by 3 years of supervised release, for the reasons laid
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out in the Government’s filing on August 3, 2022, Dkt. No. 132.


                                                     Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                              By:     /s/Elianna J. Nuzum
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Date: October 3, 2022


                              CERTIFICATE OF SERVICE
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                                                    /s/ Elianna J. Nuzum
Dated: October 3, 2022                              Elianna J. Nuzum




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